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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,                                       4:13CR3003

       vs.
                                                           MEMORANDUM AND ORDER
IRMA CRISPIN-GOMEZ,

                      Defendant.


       The government has filed an unopposed motion to continue the trial currently set for
December 9, 2013. (Filing No. 30). As explained in the motion, a material witness is not
available during the current trial setting; the defendant needs additional time to investigate this
case and review discovery; and the trial setting needs to be extended in light of the number of
witnesses and documents at issue. Based on the showing set forth in the motion, the court finds
the motion should be granted. Accordingly,

       IT IS ORDERED:

       1)      The government’s motion to continue, (filing no. 30), is granted.

       2)      The trial of this case is set to commence before the Honorable John M. Gerrard,
               United States District Judge, in Courtroom 1, United States Courthouse, Lincoln,
               Nebraska, at 9:00 a.m. on February 10, 2014, or as soon thereafter as the case may
               be called, for a duration of six (6) trial days. Jury selection will be held at
               commencement of trial.

       3)      Based upon the showing set forth in the government’s motion and the
               representations of counsel, and with the defendant’s agreement and consent, the
               Court further finds that the ends of justice will be served by continuing the trial;
               and that the purposes served by continuing the trial date in this case outweigh the
               interest of the defendant and the public in a speedy trial. Accordingly, the
               additional time arising as a result of the granting of the motion, the time between
               today’s date and February 10, 2014, shall be deemed excludable time in any
               computation of time under the requirements of the Speedy Trial Act, because
               despite counsel’s due diligence, additional time is needed to adequately prepare
               this case for trial and failing to grant additional time might result in a miscarriage
               of justice. 18 U.S.C. § 3161(h)(1) & (h)(7).

       November 14, 2013.
                                                      BY THE COURT:
                                                      s/ Cheryl R. Zwart
                                                      United States Magistrate Judge
